Case 8:25-cv-01119-MSS-LSG             Document 34        Filed 07/09/25     Page 1 of 6 PageID 753




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                CASE NO. 8:25-cv-01119-MSS-LSG

 Proven Industries, Inc., a Florida corporation,
        Plaintiff,

         v.

 Trevor McNally, individual,
        Defendant.


              NON-PARTY IAN RUNKLE’S OPPOSITION TO MOTION TO SEAL
                             UNDER LOCAL RULE 1.11

         Non-Party Ian Runkle (“Mr. Runkle”) opposes the Plaintiff’s Motion To Seal Under
 Local Rule 1.11, and states the following:


 I.      INTRODUCTION
      1. This is a case that Plaintiff, Proven Industries has brought due to the national and
         international attention it had already invited to its dispute with a very high-profile content
         creator. Having succeeded only in adding more negative attention to the problems with
         their locks that it wished to hide, Proven Industries now seeks to shut down the public
         discourse it invited around its court filings.
      2. Mr. Runkle is a Canadian lawyer who does legal commentary on YouTube and
         elsewhere, discussing both Canadian and American legal cases with a mixture of humour
         and educational content, making legal commentary accessible to the general public
         (although his viewerbase includes a large number of legal professionals in both countries
         as well). Mr. Runkle is accredited media in the Alberta Courts. He has also won awards
         for his content, and has received government grants to produce content.
      3. To date, his channel has over 38 million views, 12.1 million hours of total watchtime, and
         over 300,000 subscribers.
      4. This case is of substantial interest to the public, including Mr. Runkle’s viewers. Mr.
         Runkle has created four videos on this topic thus far, which have a total viewership of
         approximately 700,000 total views. Mr. Runkle’s commentary on this topic has already
Case 8:25-cv-01119-MSS-LSG               Document 34        Filed 07/09/25      Page 2 of 6 PageID 754




           been mentioned in this case as a potential exhibit, as was a viewer comment on Mr.
           Runkle’s commentary [DE 22, exhibit items 31-32].
        5. There is a substantial public interest in this matter and in continued coverage of this
           matter.
        6. Notwithstanding that Plaintiff has now filed a voluntary dismissal without prejudice, they
           still seek a ruling on the motion to seal. Therefore, the court should also consider this
           timely filed opposition.
 II.       NECESSITY OF FILING THE ITEMS
        7. Mr. Runkle takes no position on the necessity of filing these items.
 III.      NECESSITY OF SEALING THE ITEMS
        8. All of the listed items in Plaintiff’s motion other than the transcript were filed not under
           seal, and have been public record in the intervening time. During that time they have
           been downloaded by many individuals, including Mr. Runkle. They have been publicly
           hosted on courtlistener.com, where they will remain even if the documents have been
           sealed.
        9. Certainly, Plaintiff was aware that there was a strong public discourse around these
           issues—it is in fact the primary basis of their legal action. Plaintiff, while represented by
           experienced counsel, nonetheless elected to file its pleadings, including the personal and
           business information it now seeks to protect, not under seal. Plaintiff elected not to use
           the proper procedures to prevent public disclosure of this information. They also do not
           allege that this was inadvertent error or a filing mistake, suggesting that it was
           intentional.
        10. It is difficult to see what has changed to make it necessary to seal these documents that
           was not necessary at the time they were filed. Further, Plaintiff’s own filings indicate
           that the negative effects of the public release of this information have already occurred.
        11. In every way possible, this is a bell that cannot be unrung. All of the documents that
           Plaintiff seeks to seal have been widely published and accessible in downloadable format.
           Several of the documents have been reported on, including by Mr. Runkle, as part of the
           public discourse initiated by Plaintiff.
Case 8:25-cv-01119-MSS-LSG           Document 34         Filed 07/09/25      Page 3 of 6 PageID 755




    12. Further, the documents are available on sites that are far more accessible to the public
       than the official record accessed via PACER. Other sites offer access that does not
       require a login, and where the documents are available free of charge.
    13. Plaintiff, having chosen to file these materials publicly and being unhappy about the
       results of that decision now seeks redress that is simply not possible: To have made a
       different tactical decision in the first place.
    14. Simply put, it cannot be necessary to seal the documents where sealing them will bring
       no relief. It cannot be necessary to close the barn door once the horse has already
       escaped.
    15. Of all the documents identified by Plaintiff as ones that they seek to have sealed, the only
       document yet to be posted to courtlistener.com is this Court’s own decision.
    16. The open courts principle suggests that this must be made available. The decision of the
       court is known, but the basis for the decision is important for the public’s ability to
       understand it and to recognize the fairness and the appropriateness of the reasoning that
       lead to it. Mr. Runkle’s audience and the audience of other legal commentators are highly
       interested in the Court’s rationale. Coverage of the Court’s analysis serves an important
       role in educating the public on the legal process and the matters specifically at issue here
       in a far more in depth and accurate manner than is possible with only the holding, but not
       the full opinion. Mr. Runkle’s audience watches his coverage precisely because they want
       to review the facts and filings in depth rather than in 30 second sound bites.
    17. Further, the fact that every document is (as of this writing) commonly available except
       the transcript suggests that the purpose is not to protect the past named witnesses, but that
       instead the goal is to shield Proven Industries from criticism and commentary derived
       from their own arguments and admissions.
    18. A transcript is an unlikely weapon for harassment. There does not appear to be any names
       or contact information that is revealed in the transcript that were not previously already
       made public. A harasser requires no transcript, they can resort to insults and slurs and
       threats. While the Plaintiff is concerned that individuals might take statements out of
       context from the transcript, the cure for this is not to hide the transcript, but instead to
       reveal it so that the context can be checked and the public can examine falsehoods for
       themselves and uncover the full truth. Nothing argued by the Defendant is fodder for
Case 8:25-cv-01119-MSS-LSG              Document 34         Filed 07/09/25       Page 4 of 6 PageID 756




          harassment. Rather, the concern appears to be that there would be quotations of
          admissions made by Plaintiffs or their witnesses, as well as the Court’s own rulings and
          commentary.
       19. While the harassment experienced by various individuals is regrettable and is in no way
          condoned, it is also clear from Plaintiff’s complaint that the harassment predates any of
          the materials being filed in this matter.
 IV.      REDACTION OR PSEUDONYMS WOULD BE SUFFICIENT
       20. Plaintiff indicates that redaction or pseudonyms are insufficient, but their arguments are
          self-defeating. They indicate that “This case has already been publicly identified with the
          named parties”—that was their own choice, and was entirely within their control.
          Plaintiffs were represented by experienced and capable counsel at the time they made
          these tactical decisions. They state that redaction would not be effective because social
          media followers have already contacted Ronald Lee’s girlfriend and mother. Mr. Lee
          specifically identified his girlfriend in prior filings, and Plaintiff indicates that they
          contacted Mr. McNally’s wife, who certainly was not identified in a filing. If Plaintiff
          and social media followers are able to identify family members both when they are
          named in filed materials and when they are not, then that would undermine the claim of
          necessity of filing under seal.
       21. Despite being aware of and fueling the public interest in this case, Plaintiff made the
          decision not to file these documents under seal or with redactions. Had they made the
          decision to initially file redacted documents, that would have been sufficient. Plaintiff
          now requests the Court save it from its own choices by hiding the Court’s opinion and
          removing public access to the official public records which are widely available from
          unofficial sources.
       22. Redaction would have been sufficient from the outset, or the use of pseudonyms for
          individuals connected to the matter. Certainly, Plaintiff indicates that a potential witness
          asked “Is there a way to leave my name and my companies name out of this…[?]” [DE
          29 at para 18], suggesting that witness would have been entirely comfortable if their
          name was redacted from the materials or if they had been identified via a pseudonym.
          They note that another witness, Anthony Bonfiglio was reluctant to sign a declaration
Case 8:25-cv-01119-MSS-LSG             Document 34         Filed 07/09/25       Page 5 of 6 PageID 757




         [DE 29 at para 19], but ultimately did so and it was filed without being under seal,
         redaction, or any other protection, suggesting that in his case it was unnecessary.
      23. To the extent that the concern is ongoing harm from these materials being available,
         redaction would be sufficient—and may be more effective than a sealing order. If the
         documents are sealed, then the only available copies will be the previously public
         unredacted copies, which are likely to remain readily available. Those seeking out
         copies of the documents will therefore pursue those that are available, unredacted. If the
         documents are redacted, then those redacted copies exist to be readily distributed and to
         compete with the unredacted versions, making it more likely that individuals seeking
         them find a redacted version.
      24. The articulated concerns stem entirely around issues of specific people being named. Had
         these individuals never been named, it’s unlikely that these concerns would have arisen.
         To the extent that it is possible to try to put the genie back in the bottle, redaction is
         sufficient. To the extent that redaction is insufficient, a sealing order would also be
         insufficient. There is no reason to go beyond redaction in this case.
 V.      BALANCING THE PUBLIC INTEREST
      25. There is strong public interest in this case, as demonstrated by the high viewership of
         content about this case. This is in part because both Plaintiff and Defendant have been
         very public in airing this. Given that it is the Plaintiff seeking to seal the materials, this
         opposition will focus on their position. This Court has heard evidence in the preliminary
         injunction hearing that the first salvo in this exchange between Plaintiff and Defendant
         was the decision by Plaintiff to indicate that Mr. McNally would not attempt to pick one
         of their locks because he only targets easy locks, thus impugning Mr. McNally’s ability.
         They also publicly impugned his character by indicating, in essence, that Mr. McNally
         was faking his videos and that they would establish this in court.
      26. Having chosen to push the issue in public and explicitly referencing their court
         proceedings in the process, they now seek to conceal that court proceeding. Given that
         other than the transcript, every document that the Plaintiff seeks to seal has already been
         publicly available, it is reasonable to conclude that the primary target of the Plaintiff’s
         motion is in fact the transcript. As previously noted, a transcript is not a likely weapon of
         harassment. When the Plaintiff indicates their concern that “statements made during the
Case 8:25-cv-01119-MSS-LSG             Document 34       Filed 07/09/25      Page 6 of 6 PageID 758




         preliminary injunction hearing that could be taken out of context or mischaracterized by
         Defendant McNally’s social media followers and viewers to further incite harassment of
         Proven’s employees, their family members or loved ones”, it seems far more likely that
         their concern is that statements made during the preliminary injunction hearing might be
         ones that Proven Industries may wish to avoid public commentary on, such as their
         admission that their locks can be shimmed (although with dispute about the degree of
         effort/skill/etc involved).
      27. Plaintiff should not be able to publicize the trial proceedings as a sword, and then turn
         around and cry foul when the public exercises First Amendment rights to criticize them.
         Having made the decision to publicly announce their lawsuit, Plaintiff cannot now claim
         there is no public interest in it. The natural consequence of publicity is public
         commentary from many viewpoints, including those critical of Proven Industries.
 V.      CONCLUSION
      28. Non-Party Ian Runkle therefore respectfully asks this court to deny the motion to seal.




 Respectfully submitted this 9th day of July, 2025.


                                                                                             /Ian Runkle/
                                                                                 Ian Runkle, Pro Se
                                                                   PO BOX 99900 HW 620 350RPO
                                                                               KINGSWAY MALL
                                                                        EDMONTON AB T5G 0V2
                                                                                            Canada
                                                                                    1-403-800-2865
                                                                      runkleofthebailey@gmail.com
